CM/ECF-GA Northern District Court                                    https://ecf.gand.circ11.dcn/cgi-bin/GANDc_mkmin.pl?23565939229212...
                      Case 1:14-cr-00227-TCB-RGV Document 166 Filed 04/10/18 Page 1 of 2




                                                  1:14-cr-00227-TCB-RGV
                                                    USA v. Buckley et al
                                               Honorable Timothy C. Batten, Sr.

                                    Minute Sheet for proceedings held In Open Court on 04/10/2018.


               TIME COURT COMMENCED: 10:05 A.M.
               TIME COURT CONCLUDED: 10:29 A.M.                     COURT REPORTER: Lori Burgess
               TIME IN COURT: 00:24                                 DEPUTY CLERK: Suzy Edwards
               OFFICE LOCATION: Atlanta

         DEFENDANT(S):                 [1]Aaron Blake Buckley Present at proceedings
         ATTORNEY(S)                  Christopher Bly representing USA
         PRESENT:                     Jay Strongwater representing Aaron Blake Buckley
         PROCEEDING
                                      Sentencing Hearing(Sentencing Hearing Non-evidentiary);
         CATEGORY:
         MOTIONS RULED
                                      DFT#1-[164]Motion for Downward Departure GRANTED
         ON:
         MINUTE TEXT:                 See Judgment in a Criminal Case for sentence.
         HEARING STATUS:              Hearing Concluded




1 of 2                                                                                                               4/10/2018 10:28 AM
CM/ECF-GA Northern District Court                       https://ecf.gand.circ11.dcn/cgi-bin/GANDc_mkmin.pl?23565939229212...
                      Case 1:14-cr-00227-TCB-RGV Document 166 Filed 04/10/18 Page 2 of 2




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